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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

 CHRISTOPHER MARTINEZ MARVAN,                      CV 25–49–H–DLC

            Petitioner,

                          v.

 JOHN DOE, Helena Field Office Director,
 United States Immigration and Customs
 Enforcement; BRUCE SCOTT, Warden,
 Northwest Immigrations and Customs
 Enforcement Processing Center; DREW
 BOSTOCK, Seattle Field Office Director,
 Enforcement and Removal Operations,
 United States Immigration and Customs
 Enforcement; TODD M. LYONS, Acting
 Director, United States Immigration and
 Customs Enforcement; KRISTI NOEM,
 Secretary, United States Department of
 Homeland Security; PAMELA BONDI,
 Attorney General of the United States, in
 their official capacities,

           Respondents.




      Upon consideration of Petitioner’s Application for Issuance of Order to

Show Cause pursuant to 28 U.S.C. § 2243 and Petitioner’s Petition for Writ of

Habeas Corpus (Docs. 1, 2), IT IS HEREBY ORDERED that:

      1.      Respondents shall file a return on the Order to Show Cause why the
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Petition for Writ of Habeas Corpus should not be granted by July 7, 2025, at 5:00

p.m.

         2.   Petitioner shall have an opportunity to file a reply by July 9, 2025, at

5:00 p.m.

         3.   The parties shall appear for a hearing before this Court at the Russell

Smith Federal Court in Missoula, Montana, on July 10, 2025, at 1:30 p.m.

         4.   Service of this Order shall be made by Petitioner on the United States

Attorney for the District of Montana by July 2, 2025, at 5:00 p.m. and shall

constitute good and sufficient service.

         5.   To preserve this Court’s jurisdiction, and pursuant to the All Writs

Act, 28 U.S.C. § 1651, Petitioner Christopher Martinez Marvan may not be

removed from the United States or District of Montana until further order of this

Court.

              IT IS SO ORDERED.

       DATED this 2nd day of July, 2025.




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